  Case 2:09-cr-20133-JWL          Document 825         Filed 03/28/11   Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                   )
UNITED STATES OF AMERICA,                          )
                                                   )
                     Plaintiff,                    )
                                                   )
              v.                                   )        Case No. 09-20133
                                                   )
GLADSTONE MCDOWELL                                 )
                                                   )
                     Defendant.                    )
                                                   )



                          MEMORANDUM AND ORDER

       Defendant Gladstone McDowell has filed a “Motion to Recuse Judge James

Lungstrum” [sic] (doc. 820).       Mr. McDowell cites a “multiplicity of unlawful

infractions” by the court which, he contends, result in an appearance of partiality and

require recusal.

       Specifically, Mr. McDowell identifies three reasons for recusal: the court moved

forward without requiring the government to establish jurisdiction on the record; the

government has failed to state a claim under Rule 12 of the Federal Rules of Civil

Procedure; and the court denied Mr. McDowell’s subpoena requests to “verify the

certification of the non-positive law Title 21.”

       A judge is required to recuse himself when “his impartiality might reasonably be

questioned,” or “he has a personal bias or prejudice concerning a party.” 28 U.S.C. §

455(a), (b)(1). Mr. McDowell has not satisfied this standard.
  Case 2:09-cr-20133-JWL        Document 825       Filed 03/28/11    Page 2 of 3




       Mr. McDowell’s allegations amount to complaints about the substance of this

court’s prior rulings. For example, document 564 denies Mr. McDowell’s motion to

dismiss and, in the process, explains that how and why the court has jurisdiction over

this case. Similarly, document 668 addresses another motion to dismiss, again explains

the court’s jurisdiction, and refutes Mr. McDowell’s arguments that Title 21 is a non-

positive, uncertified, and therefore unenforceable, law. Finally, document 712 explains

why Mr. McDowell’s requests to subpoena various government officials were improper.

       Mr. McDowell clearly disagrees with these rulings, but adverse rulings almost

never provide a basis for recusal, nor do opinions formed or expressed by a judge based

upon the record, “unless they display a deep-seated favoritism or antagonism that would

make fair judgment impossible.” Liteky v. United States, 510 U.S. 540, 555 (1994);

Bixler v. Foster, 596 F.3d 751, 762 (10th Cir. 2010). Mr. McDowell has not identified

any such antagonism; he merely reiterates his legal arguments. As such, these grounds

do not require recusal.

       Finally, it appears to the court that Mr. McDowell has filed this motion for

dilatory purposes. Mr. McDowell made no attempt to satisfy the standard for recusal

and instead just rehashed legal arguments that have been rejected many times. Indeed,

in the last several months, as a pro se litigant, Mr. McDowell has filed over fifteen

motions or documents entitled “notice” or “affidavit.” The vast majority of these filings

were duplicative and almost all were legally frivolous. Moreover, the Tenth Circuit

evaluated these precise arguments when it reviewed a writ of mandamus petition filed

                                           2
  Case 2:09-cr-20133-JWL       Document 825       Filed 03/28/11    Page 3 of 3




by one of Mr. McDowell’s co-defendants. The Tenth Circuit noted this court’s

“admirable patience” with such “ill-advised contentions,” and agreed with this court’s

rulings that these legal arguments are meritless. In re: Blackburn, No. 11-3061, Doc.

0108611419 (Mar. 28, 2011) (copy attached to this order). In light of Mr. McDowell’s

history, his repetition of the same legal arguments, and this court’s repeated and

thorough rulings on those issues, the court finds that this motion for recusal was made

for dilatory purposes.



IT IS THEREFORE ORDERED BY THE COURT that the defendant’s motion to

recuse (doc. 820) is denied.



       IT IS SO ORDERED this 28th day of March, 2011.


                                      s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




                                          3
